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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                               September 21, 2020
                     IN THE UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

DAVID GARZA,                                §
# 01633521,                                 §
                                            §
              Plaintiff,                    §
v.                                          §           CIVIL ACTION NO. 4:18-4387
                                            §
LORIE DAVIS, et al.,                        §
                                            §
              Defendants.                   §

                                  FINAL JUDGMENT

       For the reasons stated in the memorandum opinion and order entered this day,

summary judgment is granted for Defendants. All of Garza’s claims are dismissed with

prejudice.

       The Clerk will provide a copy of this order to the parties and to counsel for amicus

curiae.

       SIGNED at Houston, Texas, this 21st day of September, 2020.


                                             ___________________________________
                                             GEORGE C. HANKS, JR.
                                             UNITED STATES DISTRICT JUDGE




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